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                                   STATEMENT OF FACTS

       Your affiant, Kyle G. Metz, is a Task Force Officer assigned to FBI Cincinnati’s Joint
Terrorism Task Force. In my duties as a Task Force Officer, I investigate crimes of International
and Domestic Terrorism. Currently, I am tasked with investigating criminal activity in and around
the Capitol grounds on January 6, 2021. As a Task Force Officer, I am authorized by law or by a
Government agency to engage in or supervise the prevention, detection, investigation, or
prosecution of a violation of Federal criminal laws.

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

        At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, around 2:00
p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking windows
and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged and
assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.

       During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
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violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

       On January 9, 2021, an anonymous tip was made to the FBI about three individuals being
present at the U.S. Capitol on January 6, 2021 and who posted pictures on their Facebook pages
and uploaded YouTube videos of their activities on that day. According to the tipster (“T1”), the
individuals posted photos of themselves entering the building and being present inside the
building. T1 identified one of the individuals as Walter Messer, age 50, of Piqua, Ohio. The other
two individuals were identified by T1 as Therese Maurer Borgerding and her husband Richard
Borgerding.

        A Facebook page with the Facebook Account ID 100016499853552 was located with the
vanity name “Walt Messer”. The url for the page was https://facebook.com/walt.messer. Your
affiant compared the Facebook profile photograph for this account to the Ohio Ohio Driver’s
License photograph of Walter J. Messer and confirmed they appear to be the same person.
Additional review of the “Walt Messer” Facebook page showed a post related to the January 6,
2021 Riot, as well as comments by Messer and others about being at the U.S. Capitol.

       A public post made by Messer on January 8, 2021 at 3:15 p.m. stated “Joe Biden is claiming
Trump supporters were taking selfies with the capital police. This is true. I’m glad the police took
time out for these selfies during the fake riot”. Several comments were made on this post by others
and Walter Messer. A comment made by a Facebook account with the vanity name “Therese
Maurer Borgerding” stated, “Walt was there. You weren’t. You have NO story to tell. You might
want to shut your mouth.” Another comment on the post by Therese Maurer Borgerding stated, “I
know they helped me and were very friendly and held the door for us to come in the Capitol
Building!”. The Facebook account with the vanity name Therese Maurer Borgerding has Facebook
Account ID 100009539724761.

       Lawfully obtained Facebook records show that Facebook Account ID 100009539724761.
belongs to Therese Maurer Borgerding. The listed vanity name and the account name are the same
according to the provided records.

       Lawfully obtained Facebook records show that Facebook Account ID 100016499853552
belongs to Walt Messer and is associated with telephone number                 Facebook records
show that the account belonging to Walt Messer posted images from both inside and outside the
United States Capitol building on January 6, 2021. The below image, which was posted to
Messer’s Facebook account depicts an individual your affiant believes to be Therese Borgerding
on the steps of the Capitol] holding a pole containing a “Q” sign. Your affiant believes that the
male in the photograph, wearing glasses and holding a cell phone is Richard Borgerding, the
husband of Therese.
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        Lawfully obtained location information from Google for the account identified by the email
address                              shows the movement of Walter J. Messer as he traveled from
the Dayton, Ohio area to the Washington D.C. area on January 5, 2021. Walter J. Messer’s location
in and around Washington D.C and the United States Capitol Building on January 6, 2021, was
also located in the provided records. A travel route from Washngton D.C. back to Ohio on January
7, 2021 was located. Maps showing the travel and locations are below, including travel from
Dayton, Ohio to Washington, D.C. on January 5, 2021,and returning from Washington, D.C. to
Dayton, Ohio on January 7, 2021.
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       A review of the                           revealed seven YouTube videos posted by the
account. The videos depict the events of January 6, 2021, from both inside and outside of the
United States Capitol Building. In the video from inside the United States Capitol Building, the
United States Capitol Police can be seen inside the Rotunda on the opposite side pushing back
outside. In one of the videos, Therese Borgerding is seen moving erected metal barricades and
entering the grounds of the Capitol




                         .




        Your affiant reviewed surveillance footage from the United States Capitol in an attempt to
locate footage of Therese Borgerding. The FBI located footage from inside the U.S. Capitol that
matches a person who appears to be Borgerding entering and inside the Capitol Building after the
Capitol had been breached on January 6, 2021. Borgerding is seen wearing the same clothing she
is shown wearing in the Facebook image, and is seen walking with a “Q” sign. (Images from the
video are below)
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        On March 25, 2021, the affiant interviewed two witnesses (W-1 and W-2), relatives of the
Borgerdings, regarding Therese and Richard Borgerding. During the interview, the image of the
Borgerdings on the steps of the Capitol was shown to W-1 and W-2. Both W-1 and W-2 positively
identified Therese Borgerding as the female in the knit hat holding the “Q” sign and Richard
Borgerding as the male in the glasses holding a cell phone. W-1 and W-2 provided an image
from Facebook that shows an admission in a comment by Therese Borgerding about being inside
the Capitol. The statement is “YES I was inside the Capitol Building for a longtime. You don’t
know The Truth what really happened”. (Image below)
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        Based on the foregoing, your affiant submits that there is probable cause to believe that
Therese Borgerding violated 18 U.S.C. § 1752(a)(1) and (2), which makes it a crime to (1)
knowingly enter or remain in any restricted building or grounds without lawful authority to do;
and (2) knowingly, and with intent to impede or disrupt the orderly conduct of Government
business or official functions, engage in disorderly or disruptive conduct in, or within such
proximity to, any restricted building or grounds when, or so that, such conduct, in fact, impedes or
disrupts the orderly conduct of Government business or official functions; or attempts or conspires
to do so. For purposes of Section 1752 of Title 18, a “restricted building” includes a posted,
cordoned off, or otherwise restricted area of a building or grounds where the President or other
person protected by the Secret Service, including the Vice President, is or will be temporarily
visiting; or any building or grounds so restricted in conjunction with an event designated as a
special event of national significance.

        Your affiant submits there is also probable cause to believe that Therese Borgerding
violated 40 U.S.C. § 5104(e)(2)(D) and (G)which makes it a crime to willfully and knowingly (D)
utter loud, threatening, or abusive language, or engage in disorderly or disruptive conduct, at any
place in the Grounds or in any of the Capitol Buildings with the intent to impede, disrupt, or disturb
the orderly conduct of a session of Congress or either House of Congress, or the orderly conduct
in that building of a hearing before, or any deliberations of, a committee of Congress or either
House of Congress; and (G) parade, demonstrate, or picket in any of the Capitol Buildings.


                                                      _________________________________
                                                      Task Force Officer Kyle G. Metz
                                                      Federal Bureau of Investigation

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 26th day of July 2021.
                                                                      2021.07.26
                                                                      17:59:04 -04'00'
                                                      ___________________________________
                                                      ROBIN M. MERIWEATHER
                                                      U.S. MAGISTRATE JUDGE
